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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :      Case No. 1:21-cr-00127-ABJ
       v.                                   :
                                            :
JOSHUA MATTHEW BLACK,                       :
                                            :
               Defendant.                   :


                                 NOTICE OF APPEARANCE

       The United States of America, through undersigned counsel, hereby informs the Court that

Assistant United States Attorney Eric Boylan is entering his appearance in the above-captioned

matter as counsel for the United States.



Dated this 13th day of November, 2022.

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY
                                            D.C. Bar Number 481052


                                      By:   /s/ Eric Boylan
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